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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                               VALDOSTA DIVISION
                               AT MACON, GEORGIA

                                    MINUTE SHEET
                                OF COURT PROCEEDINGS

Date: 7/7/2022                             Hearing: Motion to Suppress

Judge: Hugh Lawson                         Reporter: Tammy DiRocco

Courtroom Deputy: Nora Paul                Law Clerk: Amanda Smith

                                Case Number: 7:21-cr-50-HL

USA                                        Counsel: Robert McCullers

V

Thomas Singletary                          Counsel: Tim Saviello

Disclaimer: Contents of this Minute Sheet are for administrative purposes ONLY and are
NOT meant as a substitution for the official court record. Attorneys should contact the court
reporter for an official transcript.
Time in Court: 1 hr 16 minutes

11:14 – Convene. Opening remarks by the Court.
11:15 - Deft’s Motion to Suppress Evidence. Introduction and outline by the Govt.
11:21 – Govt calls 1st witness, Peyton Griffin.
11:38 – Cross.
11:47 – Redirect.
11:48 – Govt calls 2nd witness, Kenny Busby.
11:58 – Cross.
12:12 – Govt calls 3rd witness, Jeremy Marquez.
12:17 – Cross.
12:22 – Redirect.
12:23 – Govt argument.
12:27 – Deft argument.
12:30 – Motion to Suppress is denied from the Bench. Hearing adjourned.

Exhibits Admitted
G1 - Video Search of Hotel Room
G2 – Video Singletary Consent to Search Hotel Room
G3 – Video Busby Body Cam
